Case: 1:19-cr-00277 Document #: 117 Filed: 08/10/21 Page 1 of 5 PagelD #:880

THIRD-PARTY CITATION TO FINANCIAL INSTITUTION IN CRIMINAL CASE

 

 

Issued by the
United States District Court
NORTHERN DISTRICT OF ILLINOIS p 0. S
UNITED STATES OF AMERICA
THIRD PARTY CITATION TO DISCOVER ASSETS
Vv.
CASE NUMBER: 19 CR 277
CONCEPCION MALINEK

TO: Citibank, N.A., Attn; Legal Services Intake Unit, 5800 South Corporate Place MC 451 Sioux Falls, South Dakota 57108

On April 22, 2021, the court entered judgment in favor of the United States and against Concepcion Malinek EB 405, and it
remains unsatisfied in the total amount of $97,651.01.

YOU ARE PROHIBITED from making or allowing any transfer or other disposition of, or interfering with, any property not exempt from
execution or garnishment belonging to the judgment debtor or to which he may be entitled or which may be acquired by or become due to
the judgment debtor and from paying over or otherwise disposing of any money not so exempt, which is due or becomes due to judgment debtor,
until further order of court or termination of the proceedings. You are required to withhold the payment or transfer of any money or other property
no more than twice the amount of the unsatisfied judgment.

YOUR FAILURE TO APPEAR AND ANSWER AS HEREIN DIRECTED MAY CAUSE YOU TO BE ARRESTED AND BROUGHT
BEFORE THE COURT TO ANSWER TO A CHARGE OF CONTEMPT OF COURT, WHICH MAY BE PUNISHABLE BY

IMPRISONMENT.

[] YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to

be examined under oath to discover assets or income not exempt from the enforcement of the judgment.

 

 

PLACE OF TESTIMONY COURTROOM DATE AND TIME

 

 

 

[x] YOU ARE COMMANDED to appear in the Office of the United States Attorney at the place, date, and time specified

below to be examined under oath to discover assets or income not exempt from the enforcement of the judgment.

PLACE OF TESTIMONY DATE AND TIME
219 South Dearborn Street, 5th Floor, Chicago, Illinois 60604 August 24, 2021 at 10:30 a.m.
i i AY. i ‘ ce unnecess

 

[x] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents at the place,

date, and time specified above: Sce attached rider.

CERTIFICATE OF ATTORNEY THOMAS G. BRUTON, Clerk of the District Court

The undersigned certifies under penalties of perjury provided by law
(735 ILCS 5/1-109) that on April 22, 2021 judgment was entered against
the defendant in the amount of $112,645.00 in the United States District
Court for the Northern District of Illinois in case number 19 CR 277,
and the balance now due is $97,651.01.

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Scott D. Heffron, Assistant United States Attorney, 219 S. Dearborn Street,
Sth FI., Chicago, Hlinois 60604; (312) 886-4190,

THOMAS G. BRUTON, CLERK

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August 3, 2021

 

(By) DEPUTY CLERK DATE

 
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PROOF OF SERVICE
DATE PLACE
SERVED 3 | s [ 20 > ( Citibank, N.A., Attn: Legal Services Intake Unit
5800 South Corporate Place MC 451 Sioux Falls, South Dakota 57108
SERVED ON (PRINT NAME) MANNER OF SERVICE
Citibank, N.A.
SERVED BY (PRINT NAME) TITLE
Pamela Vargas Legal Assistant
DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that lam over 21 years of age and the foregoing information contained in the

Proof of Service is true and correct.
CR VIMID
S| 5[20>.\ OF SERVER)
SIGNATURE OF SERVER'

Executed on

 

 

 

DATE .
219 S. Dearborn Street, 5th Floor, Chicago, Illinois 60604
ADDRESS OF SERVER
Notice to judgment debtor pursuant to the Illinois Code of Civil Procedure § 2-1402(b)
CITATION NOTICE (2) Fuel, provisions, furniture, and personal effects in the debtor's household, and for

In the United States District Court
for the Northern District of Illinois
219 S. Dearborn St., Chicago, Illinois

United States, Judgment Creditor
Vv.
Concepcion Malinek, Judgment Debtor
Lexington FMC

Register Number 53954-424
3301 Leestown Road
Lexington, Kentucky 40511-8799

Amount of judgment: $112,645.00

This citation is directed to: Citibank, N.A.

NOTICE: The court has issued a citation against the person named above. The
citation directs that person to appear at the place designated above to be examined
for the purpose of allowing the judgment creditor to discover income and assets
belonging to you, the judgment debtor, or in which you, the judgment debtor, has an
interest. The citation was issued on the basis of a judgment against you, the judgment
debtor, in favor of the judgment creditor in the amount stated above, On or after the
date stated above, the court may compel the application of any discovered income or
assets toward payment on the judgment.

The amount of income or assets that may be applied toward the judgment for criminal
fines and restitution is limited by federal and Illinois law. The JUDGMENT
DEBTOR HAS THE RIGHT TO ASSERT STATUTORY EXEMPTIONS
AGAINST CERTAIN INCOME OR ASSETS OF THE JUDGMENT DEBTOR
WHICH MAY NOT BE USED TO SATISFY THE JUDGMENT IN THE
AMOUNT STATED ABOVE. .

Under federal law relating to the enforcement of judgments for criminal fines and
restitution, the property exempt from levy is:

(1) Wearing apparel and school books necessary for the debtor or for his family;

personal use, livestock, and poultry of the debtor, as does not exceed $9,690 in value;
(3) Books and tools of a trade, business, or profession necessary for the trade,
business, or profession of the debtor as do not exceed in the aggregate $4,850 in value;
(4) Unemployment benefits payable to an individual with respect to his unemployment
(including any portion thereof payable with respect to dependents).

(5) Undelivered mail to any person, which has not been delivered to the addressee.
(6) Certain annuity and pension payments under the Railroad Retirement Act,
benefits under the Railroad Unemployment Insurance Act, special pension payments
received by a person whose name has been entered on the Army, Navy, Air Force, and
Coast Guard Medal of Honor roll, and annuities based on retired or retainer pay under
chapter 73 of title 10 of the United States Code.
(7) Workmen's compensation payable to an individual (including any portion thereof
payable with respect to dependents) under a workmen's compensation law.
(8) Judgments for support of minor children required by judgment of a court of
competent jurisdiction, entered prior to the date of levy, to contribute to the support of
his minor children.
(9) Certain service-connected disability payments payable to an individual as a
service-connected (within the meaning of section 101(16) of title 38, United States
Code) disability benefit.
(10) Assistance under Job Training Partnership Act. under the Job Training
Partnership Act (29 U.S.C. 1501 et seq.) from funds appropriated pursuant to such Act.
(See 18 U.S.C. § 3613(a) and 26 U.S.C, § 6334.)
THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING TO
DECLARE EXEMPT CERTAIN INCOME OR ASSETS OR BOTH. The judgment
debtor also has the right to seek a declaration at an earlier date, by notifying the clerk in
writing at 219 S. Dearborn, 20 Floor, Chicago, Illinois 60604. When so notified, the
Clerk of the Court will obtain a prompt hearing date from the court and will provide the
necessary forms that must be prepared by the judgment debtor or the attorney for the
judgment debtor and sent to the judgment creditor and the judgment creditor's attorney
regarding the time and location of the hearing.

Certificate of Mailing

1 certify that within three business days of service on the above-named third party
citation respondent a copy of this citation to discover assets and citation notice were
sent by first class U.S. Mail to the judgment debtor's last known address, which is
Lexington FMC, Register Number: 53954-424, 3301 Leestown Road, Lexington,

Kentucky 40511-8799 .
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RIDER TO THE THIRD PARTY CITATION TO DISCOVER ASSETS
SERVED ON CITIBANK,N.A.

IN UNITED STATES v. CONCEPCION MALINEK
SSN BB 405, CASE No. 19 CR 277

The judgment debtor is Concepcion Malinek. Produce all documents and things in your possession or control as they relate to the
property, income, or assets of the judgment debtor for a three-year period preceding the return date listed on the Citation to
Discover Assets including, but not limited to:

1. All records pertaining to open and closed accounts of the judgment debtor, whether held jointly, as trustee or fiduciary,
custodian, executor or guardian, including accounts of any entity in which the judgment debtor may have a financial interest. Records
should include all accounts in which the judgment debtor had signatory authority and/or the right of withdrawal and should include
signature cards or other indicia of ownership for any account maintained by or for judgment debtor, if the account is also owned by

someone other than the judgment debtor.

2. Loans or credit made or extended to judgment debtor, whether as principal or guarantor, including, but not limited to,
applications for loans or credit, financial statements provided by the judgment debtor, loan correspondence files and internal bank
memoranda. Please include documents reflecting disbursement of the loan proceeds (front and back of check, if applicable) and
reflecting the means by which the loan repayments were made.

3. Safe Deposit Box records, including contracts, access records, and records of rental fees paid disclosing the date, amount and
method of payment.

4, Records of Certificate of Deposit purchased by the judgment debtor, including applications, actual instrument(s), records of
purchases and redemptions.

5, Records of U.S. Treasury Notes and Bills purchased by the judgment debtor, including records of the purchase of U.S.
Treasury Bills and Notes and/or subsequent sale of such bills or notes.

6. Records of MasterCard and/or Visa credit cards issued to the judgment debtor, including the application, signature card,
credit or background investigations conducted, correspondence, and monthly billing statements.

7. Records of the purchase/issuance of bank checks, cashier checks, traveler's checks , or money orders, including the file
copies of the checks or money orders, records revealing the date and source of payment, instruments and statements of transactions.

8. Records of wire transfers, letters of credit, bonds and securities purchased through your bank, and/or investments held by
your bank. Include such records that disclose the date and amount of the transaction, method (cash or check) and source of payment,
instruments and statements of transactions.

9. Any other documents which may contain information concerning the property, income, or assets of debtor.

 

 

 

 
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From: TrackingUpdates@fedex.com

To: Vargas, Pamela (USAILN)

Subject: FedEx Shipment 774441797611: Your package has been delivered
Date: Thursday, August 5, 2021 9:18:39 AM

 

 

Hi. Your package was
delivered Thu, 08/05/2021 at
9:15am.

Delivered to 5800 S CORPORATE PL, SIOUX FALLS, SD 57108
Received by D.BIERIG

OBTAIN PROOF OF DELIVERY

TRACKING NUMBER 774441797611
FROM Pamela Vargas
219 S. Dearborn Street
Room 500

CHICAGO, IL, US, 60604

TO Attn: Legal Services Intake Unit
Citibank, N.A
5800 South Corporate Place MC 451
SIOUX FALLS, SD, US, 57108

SHIP DATE Wed 8/04/2021 04:58 PM

 
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DELIVERED TO

PACKAGING TYPE

ORIGIN

DESTINATION

SPECIAL HANDLING

NUMBER OF PIECES

TOTAL SHIPMENT WEIGHT

SERVICE TYPE

 

 

 

 

 

FOLLOW FEDEX | r]

 

 

 

@

 

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DSR

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